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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF SOUTH CAROLINA
                                     ORANGEBURG DIVISION


 Gary Phillips,                               )     C/A No.: 5:20-cv-02483-JMC-SVH
                                              )
                       Plaintiff,             )
 vs.                                          )
                                              )
 Bimbo Bakeries USA, Inc.                     )         CONFIDENTIALITY ORDER
                                              )
                                              )
                       Defendant.             )
                                              )


        Whereas, the parties to this Consent Confidentiality Order (“parties”), have stipulated that

 certain discovery material is and should be treated as confidential, and have agreed to the terms of

 this order; accordingly, it is this 24th day of September, 2020, ORDERED:

                  1.       Scope. All documents produced in the course of discovery, all responses to

 discovery requests and all deposition testimony and deposition exhibits and any other materials

 which may be subject to discovery (hereinafter collectively “documents”) shall be subject to this

 Order concerning confidential information as set forth below.

        2.        Form and Timing of Designation. Confidential documents shall be so designated

 by placing or affixing the word “CONFIDENTIAL” on the document in a manner which will not

 interfere with the legibility of the document and which will permit complete removal of the

 Confidential designation. Documents shall be designated CONFIDENTIAL prior to, or

 contemporaneously with, the production or disclosure of the documents.               Inadvertent or

 unintentional production of documents without prior designation as confidential shall not be

 deemed a waiver, in whole or in part, of the right to designate documents as confidential as

 otherwise allowed by this Order.

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        3.      Documents Which May be Designated Confidential. Any party may designate

 documents as confidential but only after review of the documents by an attorney 1 who has, in good

 faith, determined that the documents contain information protected from disclosure by statute,

 sensitive personal information, trade secrets, or confidential research, development, or commercial

 information. The certification shall be made concurrently with the disclosure of the documents,

 using the form attached hereto at Attachment A which shall be executed subject to the standards

 of Rule 11 of the Federal Rules of Civil Procedure. Information or documents which are available

 in the public sector may not be designated as confidential.

        4.      Depositions.     Portions of depositions shall be deemed confidential only if

 designated as such when the deposition is taken or within seven business days after receipt of the

 transcript. Such designation shall be specific as to the portions to be protected.

        5.      Protection of Confidential Material.

        a.      General Protections. Documents designated CONFIDENTIAL under this Order

        shall not be used or disclosed by the parties or counsel for the parties or any other persons

        identified below (¶ 5.b.) for any purposes whatsoever other than preparing for and

        conducting the litigation in which the documents were disclosed (including any appeal of

        that litigation). The parties shall not disclose documents designated as confidential to

        putative class members not named as plaintiffs in putative class litigation unless and until

        one or more classes have been certified.




 1
   The attorney who reviews the documents and certifies them to be CONFIDENTIAL must be
 admitted to the Bar of at least one state but need not be admitted to practice in the District of South
 Carolina and need not apply for pro hac vice admission. By signing the certification, counsel
 submits to the jurisdiction of this court in regard to the certification.

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        b.     Limited Third Party Disclosures. The parties and counsel for the parties shall

        not disclose or permit the disclosure of any documents designated CONFIDENTIAL under

        the terms of this Order to any other person or entity except as set forth in subparagraphs

        (1)-(5) below, and then only after the person to whom disclosure is to be made has been

        made aware of his or her obligations to use discovery materials designated

        CONFIDENTIAL solely for the purposes of the above-captioned action, and not to disclose

        any such confidential information to any other person, entity, or firm. Subject to these

        requirements, the following categories of persons may be allowed to review documents

        which have been designated CONFIDENTIAL pursuant to this Order:

               (1)     counsel and employees of counsel for the parties who have responsibility

               for the preparation and trial of the lawsuit;

               (2)     parties and employees of a party to this Order but only to the extent counsel

               shall certify that the specifically named individual party or employee’s assistance

               is necessary to the conduct of the litigation in which the information is disclosed 2;

               (3)     court reporters engaged for depositions and those persons, if any,

               specifically engaged for the limited purpose of making photocopies of documents;

               (4)     consultants, investigators, or experts (hereinafter referred to collectively as

               “experts”) employed by the parties or counsel for the parties to assist in the

               preparation and trial of the lawsuit; and




 2
   At or prior to the time such party or employee completes his or her acknowledgment of review
 of this Order and agreement to be bound by it (Attachment B hereto), counsel shall complete a
 certification in the form shown at Attachment C hereto. Counsel shall retain the certification
 together with the form signed by the party or employee.

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                  (5)    other persons only upon consent of the producing party or upon order of the

                  court and on such conditions as are agreed to or ordered.

         c.       Control of Documents. Counsel for the parties shall take reasonable efforts to

         prevent unauthorized disclosure of documents designated as Confidential pursuant to the

         terms of this order. Counsel shall maintain a record of those persons, including employees

         of counsel, who have reviewed or been given access to the documents along with the

         originals of the forms signed by those persons acknowledging their obligations under this

         Order.

         d.       Copies. All copies, duplicates, extracts, summaries or descriptions (hereinafter

         referred to collectively as “copies”), of documents designated as Confidential under this

         Order or any portion of such a document, shall be immediately affixed with the designation

         “CONFIDENTIAL” if the word does not already appear on the copy. All such copies shall

         be afforded the full protection of this Order.

         6.       Filing of Confidential Materials. In the event a party seeks to file any material

 that is subject to protection under this Order with the court, that party shall take appropriate action

 to insure that the documents receive proper protection from public disclosure including: (1) filing

 a redacted document with the consent of the party who designated the document as confidential;

 (2) where appropriate (e.g. in relation to discovery and evidentiary motions), submitting the

 documents solely for in camera review; or (3) where the preceding measures are not adequate,

 seeking permission to file the document under seal pursuant to the procedural steps set forth in

 Local Civil Rule 5.03, DSC, or such other rule or procedure as may apply in the relevant

 jurisdiction.    Absent extraordinary circumstances making prior consultation impractical or

 inappropriate, the party seeking to submit the document to the court shall first consult with counsel

 for the party who designated the document as confidential to determine if some measure less
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 restrictive than filing the document under seal may serve to provide adequate protection. This

 duty exists irrespective of the duty to consult on the underlying motion. Nothing in this Order

 shall be construed as a prior directive to the Clerk of Court to allow any document be filed under

 seal. The parties understand that documents may be filed under seal only with the permission of

 the court after proper motion pursuant to Local Civil Rule 5.03.

        7.      Greater Protection of Specific Documents. No party may withhold information

 from discovery on the ground that it requires protection greater than that afforded by this Order

 unless the party moves for an Order providing such special protection.

        8.      Challenges to Designation as Confidential. Any CONFIDENTIAL designation

 is subject to challenge.   The following procedures shall apply to any such challenge.

        a.      The burden of proving the necessity of a Confidential designation remains with the

        party asserting confidentiality.

        b.      A party who contends that documents designated CONFIDENTIAL are not entitled

        to confidential treatment shall give written notice to the party who affixed the designation

        of the specific basis for the challenge. The party who so designated the documents shall

        have fifteen (15) days from service of the written notice to determine if the dispute can be

        resolved without judicial intervention and, if not, to move for an Order confirming the

        Confidential designation.

        c.      Notwithstanding any challenge to the designation of documents as confidential, all

        material previously designated CONFIDENTIAL shall continue to be treated as subject to

        the full protections of this Order until one of the following occurs:

                (1)     the party who claims that the documents are confidential withdraws such

                designation in writing;



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              (2)     the party who claims that the documents are confidential fails to move

              timely for an Order designating the documents as confidential as set forth in

              paragraph 8.b. above; or

              (3)     the court rules that the documents should no longer be designated as

              confidential information.

       d.     Challenges to the confidentiality of documents may be made at any time and are

       not waived by the failure to raise the challenge at the time of initial disclosure or

       designation.

       9.     Treatment on Conclusion of Litigation.

       a.     Order Remains in Effect. All provisions of this Order restricting the use of

       documents designated CONFIDENTIAL shall continue to be binding after the conclusion

       of the litigation unless otherwise agreed or ordered.

       b.     Return of CONFIDENTIAL Documents. Within thirty (30) days after the

       conclusion of the litigation, including conclusion of any appeal, all documents treated as

       confidential under this Order, including copies as defined above (¶5.d.) shall be returned

       to the producing party if so requested by the producing party unless: (1) the document has

       been entered as evidence or filed (unless introduced or filed under seal); (2) the parties

       stipulate to destruction in lieu of return; or (3) as to documents containing the notations,

       summations, or other mental impressions of the receiving party, that party elects

       destruction. Notwithstanding the above requirements to return or destroy documents,

       counsel may retain attorney work product including an index which refers or relates to

       information designated CONFIDENTIAL so long as that work product does not duplicate

       verbatim substantial portions of the text of confidential documents. This work product

       continues to be Confidential under the terms of this Order. An attorney may use his or her
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        work product in a subsequent litigation provided that its use does not disclose the

        confidential documents.

        10.     Order Subject to Modification. This Order shall be subject to modification on

 motion of any party or any other person who may show an adequate interest in the matter to

 intervene for purposes of addressing the scope and terms of this Order. The Order shall not,

 however, be modified until the parties shall have been given notice and an opportunity to be heard

 on the proposed modification.

        11.     No Judicial Determination. This Order is entered based on the representations

 and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

 be construed or presented as a judicial determination that any specific document or item of

 information designated as CONFIDENTIAL by counsel is subject to protection under Rule 26(c)

 of the Federal Rules of Civil Procedure or otherwise until such time as a document-specific ruling

 shall have been made.

        12.     Persons Bound. This Order shall take effect when entered and shall be binding

 upon: (1) counsel who signed below and their respective law firms; and (2) their respective clients.

        IT IS SO ORDERED.



 September 24, 2020                                   Shiva V. Hodges
 Columbia, South Carolina                             United States Magistrate Judge




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                                  ATTACHMENT A
                     CERTIFICATION BY COUNSEL OF DESIGNATION
                         OF INFORMATION AS CONFIDENTIAL

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  ORANGEBURG DIVISION

 Gary Phillips                                  )       Civil Action No.
                                                )       5:20-cv-02483-JMC-SVH
                                                )
        Plaintiff,                              )
                                                )       Certification by Counsel of Designation
 vs.                                            )         of Information as Confidential
                                                )
 Bimbo Bakeries USA, Inc.,                      )
                                                )
        Defendant                               )
                                                )

        Documents produced herewith [whose bates numbers are listed below (or) which are
 listed on the attached index] have been marked as CONFIDENTIAL subject to the
 Confidentiality Order entered in this action which Order is dated [confidentiality order date].

        By signing below, I am certifying that I have personally reviewed the marked documents
 and believe, based on that review, that they are properly subject to protection under the terms of
 Paragraph 3 of the Confidentiality Order.

        Check and complete one of the two options below.

        ❑        I am a member of the Bar of the United States District Court for the District of
                 South Carolina. My District Court Bar number is [District Court Bar #].

        ❑        I am not a member of the Bar of the United States District Court for the District of
                 South Carolina but am admitted to the bar of one or more states. The state in which
                 I conduct the majority of my practice is [state in which I practice most] where my
                 Bar number is [that state's Bar #]. I understand that by completing this certification
                 I am submitting to the jurisdiction of the United States District Court for the District
                 of South Carolina as to any matter relating to this certification.

 Date: [date attachment A signed]                               [Signature of Counsel [s/name]]
                                                                Signature of Counsel

                                                                [Printed Name of Counsel [A]]
                                                                Printed Name of Counsel


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                                        ATTACHMENT B

                         ACKNOWLEDGMENT OF UNDERSTANDING
                                      AND
                              AGREEMENT TO BE BOUND

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  ORANGEBURG DIVISION



 Gary Phillips                                )                   Civil Action No.
                                              )              5:20-cv-02483-JMC-SVH
        Plaintiff,                            )
 vs.                                          )
                                              )        Acknowledgment of Understanding
 Bimbo Bakeries USA, Inc.,                    )                    and
                                              )            Agreement to be Bound
                                              )
        Defendant                             )
                                              )
                                              )


        The undersigned hereby acknowledges that he or she has read the Confidentiality Order
 dated [confidentiality order date], in the above captioned action, understands the terms thereof,
 and agrees to be bound by such terms. The undersigned submits to the jurisdiction of the United
 States District Court for the District of South Carolina in matters relating to the Confidentiality
 Order and understands that the terms of said Order obligate him/her to use discovery materials
 designated CONFIDENTIAL solely for the purposes of the above-captioned action, and not to
 disclose any such confidential information to any other person, firm or concern.

          The undersigned acknowledges that violation of the Stipulated Confidentiality Order may
 result in penalties for contempt of court.

                 Name:                 [undersigned name [att B]]
                 Job Title:            [Job Title [att B]]
                 Employer:             [Employer [att B]]
                 Business Address:     [Business Address [att B]]


 Date: [date attachment B signed]                              [Signature [attachment B]]
                                                               Signature


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                                         ATTACHMENT C

                          CERTIFICATION OF COUNSEL OF NEED
                          FOR ASSISTANCE OF PARTY/EMPLOYEE

                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                   ORANGEBURG DIVISION



  Gary Phillips                       )                          Civil Action No.
                                      )                       5:20-cv-02483-JMC-SVH
                                      )
        Plaintiff,                    )                      Certification of Counsel
                                      )                of Need for Assistance of Party/Employee
  vs.                                 )
                                      )
  Bimbo Bakeries USA, Inc.,           )
                                      )
        Defendant                     )
                                      )
  ___________________________________ )

         Pursuant to the Confidentiality Order entered in this action, most particularly the
  provisions of Paragraph 5.b.2., I certify that the assistance of [name of assistant [att C]] is
  reasonably necessary to the conduct of this litigation and that this assistance requires the
  disclosure to this individual of information which has been designated as CONFIDENTIAL.

           I have explained the terms of the Confidentiality Order to the individual named above
  and will obtain his or her signature on an “Acknowledgment of Understanding and Agreement to
  be Bound” prior to releasing any confidential documents to the named individual and I will
  release only such confidential documents as are reasonably necessary to the conduct of the
  litigation.

         The individual named above is:

         ❑        A named party;

         ❑        An employee of named party [employee of named party]. This employee’s job
                  title is [employee's job title] and work address is [employee's work address].


  Date: [date attachment C signed]                            [Signature [attachment C]]
                                                               Signature



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